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                Exhibit C
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Adams-Sherman, Timika




From:                               Trefz, Katherine
Sent:                               Wednesday, April 8, 2020 8:53 PM
To:                                 'Leach, Robert (USACAN)'; Wade, Lance; 'Coopersmith, Jeffrey'
Cc:                                 Downey, Kevin; Saharia, Amy; 'Cazares, Stephen'; 'Brown, Walter F.
                                    (wbrown@orrick.com)'; 'Luskey, Randy'; 'Schenk, Jeffrey (USACAN)'; 'Bostic, John
                                    (USACAN)'; 'Baehr-Jones, Vanessa (USACAN)'; 'Nedrow, Jeff (USACAN)'; 'John Cline'
Subject:                            RE: US v. Holmes & Balwani: Rule 16(a)(1)(G) Notice


Counsel,

Please let us know when we can expect a response to this letter.

Thanks,
Katie


Katie Trefz
Williams & Connolly LLP
725 Twelfth St., NW Washington, DC 20005
(P) 202‐434‐5038 | (C) 949‐285‐0410
ktrefz@wc.com | www.wc.com/ktrefz

From: Trefz, Katherine
Sent: Thursday, March 12, 2020 3:52 PM
To: 'Leach, Robert (USACAN)' <Robert.Leach@usdoj.gov>; Wade, Lance <LWade@wc.com>; 'Coopersmith, Jeffrey'
<jcoopersmith@orrick.com>
Cc: Downey, Kevin <KDowney@wc.com>; Saharia, Amy <ASaharia@wc.com>; 'Cazares, Stephen'
<scazares@orrick.com>; 'Brown, Walter F. (wbrown@orrick.com)' <wbrown@orrick.com>; 'Luskey, Randy'
<rluskey@orrick.com>; 'Schenk, Jeffrey (USACAN)' <Jeffrey.B.Schenk@usdoj.gov>; 'Bostic, John (USACAN)'
<John.Bostic@usdoj.gov>; 'Baehr‐Jones, Vanessa (USACAN)' <Vanessa.Baehr‐Jones@usdoj.gov>; 'Nedrow, Jeff
(USACAN)' <Jeff.Nedrow@usdoj.gov>; 'John Cline' <cline@johndclinelaw.com>
Subject: RE: US v. Holmes & Balwani: Rule 16(a)(1)(G) Notice

Counsel,

Please see the attached.

Katie

Katie Trefz
Williams & Connolly LLP
725 Twelfth St., NW Washington, DC 20005
(P) 202‐434‐5038 | (F) 202‐434‐5029
ktrefz@wc.com | www.wc.com/ktrefz

From: Trefz, Katherine
Sent: Monday, March 09, 2020 5:42 PM
To: Leach, Robert (USACAN) <Robert.Leach@usdoj.gov>; Wade, Lance <LWade@wc.com>; Coopersmith, Jeffrey
<jcoopersmith@orrick.com>
                                                             1
                Case 5:18-cr-00258-EJD Document 435-3 Filed 07/02/20 Page 3 of 4

Cc: Downey, Kevin <KDowney@wc.com>; Saharia, Amy <ASaharia@wc.com>; 'Cazares, Stephen'
<scazares@orrick.com>; Brown, Walter F. (wbrown@orrick.com) <wbrown@orrick.com>; Luskey, Randy
<rluskey@orrick.com>; Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov>; Bostic, John (USACAN)
<John.Bostic@usdoj.gov>; Baehr‐Jones, Vanessa (USACAN) <Vanessa.Baehr‐Jones@usdoj.gov>; Nedrow, Jeff (USACAN)
<Jeff.Nedrow@usdoj.gov>; John Cline <cline@johndclinelaw.com>
Subject: RE: US v. Holmes & Balwani: Rule 16(a)(1)(G) Notice

Bob,

Please produce (or identify in the government’s productions) notes or memoranda of any government interviews or
meetings with, or testimony of, the following individuals identified in the government’s letter:

JoEllen B. Embry
Dr. Edward Szmuc
Dr. Gerald S. Asin
Dr. Govind Acharya
Dr. Curtis Page

Thank you,
Katie


Katie Trefz
Williams & Connolly LLP
725 Twelfth St., NW Washington, DC 20005
(P) 202‐434‐5038 | (F) 202‐434‐5029
ktrefz@wc.com | www.wc.com/ktrefz

From: Leach, Robert (USACAN) <Robert.Leach@usdoj.gov>
Sent: Friday, March 06, 2020 11:49 PM
To: Wade, Lance <LWade@wc.com>; Coopersmith, Jeffrey <jcoopersmith@orrick.com>
Cc: Downey, Kevin <KDowney@wc.com>; Saharia, Amy <ASaharia@wc.com>; Trefz, Katherine <KTrefz@wc.com>;
'Cazares, Stephen' <scazares@orrick.com>; Brown, Walter F. (wbrown@orrick.com) <wbrown@orrick.com>; Luskey,
Randy <rluskey@orrick.com>; Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov>; Bostic, John (USACAN)
<John.Bostic@usdoj.gov>; Baehr‐Jones, Vanessa (USACAN) <Vanessa.Baehr‐Jones@usdoj.gov>; Nedrow, Jeff (USACAN)
<Jeff.Nedrow@usdoj.gov>
Subject: US v. Holmes & Balwani: Rule 16(a)(1)(G) Notice

Dear Counsel,

Please see the attached.

Best regards,
Bob

********************************
Robert S. Leach
Assistant United States Attorney
United States Attorney's Office
 Northern District of California
1301 Clay Street, Suite 340S
Oakland, California 94612
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                 Case 5:18-cr-00258-EJD Document 435-3 Filed 07/02/20 Page 4 of 4

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